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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

   UNITED STATES of AMERICA          )
                                     )             Crim. Case RWT-04-235
      v.                             )
                                     )
   LAVON DOBIE,                      )
            Defendant                )
   ________________________________ )

              UNITED STATES’ RESPONSE TO DEFENDANT’S MOTION FOR
                    AMENDMENT OF SENTENCE (ECF 1761)

       COMES NOW, the United States of America, by and through its attorneys, Rod J.

Rosenstein, United States Attorney for the District of Maryland, and Deborah Johnston,

Assistant United States Attorney for said District, and in opposition to the Defendant’s motion

for amendment of sentence (ECF1761) states as follows:

       1. On December 8, 2014, the court issued an order granting the defendant a sentence

          reduction pursuant to 18 U.AS.C.' 3582 (c),(2) (ECF 1729) . The order reduced the

          defendant’s sentence from 170 months to 152 months imprisonment with an effective

          date of November 1, 2015.

       2. On March 2, 2015, the court received correspondence from the defendant

          complaining that the Bureau of Prisons (“BOP”)          “ has recalculated the said

          defendant’s sentence to a total of 156 months oppose to the 152 months the defendant

          was actually resentenced to on December 8, 2014.” ECF 1761. The defendant alleges

          that the BOP had illegally increased her sentence to 156 months and asks the court to

          amend her sentence and order the Bureau of Prisons to correct their calculation of her

          time.
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           3. As reflected in the court’s order (ECF 1729) the court’s reduction is not effective

               until November 1, 2015. Consequently the defendant’s sentence of 170 months is not

               reduced until the court’s order becomes effective on November 1, 2015. As a result

               the defendant’s earliest release date with good time credit is November 1, 2015.

           4. Pursuant to 18 U.S.C. 18 U.S.C. ' 3624, the Bureau of Prisons determines an

               inmate’s release date and any credit for good time. In particular, the BOP may award

               up to 54 days credit per year beginning at the end of the inmate’s first year of

               imprisonment for “exemplary compliance” with institutiona1 regulations. 18 U.S.C.

               '3624 (b); see also Yi v. Federal Bureau of Prisons, 412 F.3d 526 (4th Cir.2005)( the

               Bureau of Prison's interpretation of 18 U.S.C. § 3624, awarding good conduct time

               based on time served and not sentence imposed, was reasonable).

           5. In order to meet the earliest release date of November 1, 2015, on February 24, 2015,

               the BOP recalculated the defendant’s credit for time served and statutory release

               date1. In making this calculation, the BOP did not use the 170 month sentence which

               is in effect until November 1, 2015 but adjusted her sentence down to 156 months and

               20 days which results in a statutory release date of November 1, 2015 which is the

               date her sentence will be reduced to 152 months.

           6. Consequently, the BOP has not increased the defendant’s sentence. Rather on

               November 1, 2015, her sentence will be reduced to 152 months as directed to the

               court and she will be released because through actual time served and credit for good

               time she will have satisfied the 152 month sentence.



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    A copy of the Computation data is attached as Exhibit 1.
                                                           2
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      As there has not been an illegal increase in the defendant’s sentence, her motion for

amendment of sentence(ECF 1761) should be denied.



                                        Respectfully submitted,


                                         Rod J. Rosenstein
                                         United States Attorney


                                    By: _____/s/___________________________
                                        Deborah Johnston
                                        Assistant United States Attorney




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                                CERTIFICATE OF SERVICE

       I hereby certify that I caused a true and correct copy of the foregoing United States’

Response to defendant’s motion to amend sentence to be mailed first-class, postage-prepaid 1st

day of April 2015, to the Petitioner at the following address:


Lavon Dobie
FMC-Carswell[1North]
P.O. Box 27137
Ft. Worth, Texas 76127

                                                     _______/s/_____________
                                                     Deborah Johnston




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